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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

 WENDY BARR DYE                                     CIVIL ACTION NO. 3:18-CV-00981

 VERSUS                                             JUDGE TERRY A. DOUGHTY

 IASIS GLENWOOD REGIONAL                            MAG. JUDGE KAREN L. HAYES
 MEDICAL CENTER LLP

                                         JUDGMENT

        Considering the foregoing,

        IT IS ORDERED, ADJUDGED AND DECREED that the Joint Motion to Dismiss

 [Doc. No. 22] is GRANTED. Plaintiff Wendy Barr Dye’s claims against Defendant Iasis

 Glenwood Regional Medical Center, LLP are DISMISSED WITH PREJUDICE, with each

 party to bear their own costs.

        Monroe, Louisiana, this 9th day of January, 2019.




                                            ______________________________________
                                             TERRY A. DOUGHTY
                                             UNITED STATES DISTRICT JUDGE
